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                               IN TilE UNITED STATES DISTRICT           C~G          20 PH 5;X7              >'] .
                                  FOR THE DISTRICT OF MARYLAND                r' c',-'\', c'!",:
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    UNITED STATES OF AMERICA                         :                   BY                     DEPUTY   .

            v.                                           CRIMINAL       NO,    RD&,Q-f)3Q \('
    COLLIN DAVIS,                                        (Carjacking Resulting in Death, 18 U.S.c.
                                                         ~ 2119(3); Discharging a Firearm During
                                                         and in Relation to a Crime of Violence and
                                                         a Drug Trafficking Crime, 18 U.S.c. ~
                                                         924(e); Conspiracy to Possess with Intent
                                                         to Distribute Controlled Suhstances, 21
                                                         U.S.c. ~ 846; Aiding and Abetting, 18
                                                         U.S.c. ~ 2)

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                                             INDICTMENT

                                               COUNT ONE
                                     (Carjacking Resulting in Death)

            The Grand Jury for the District of Maryland charges that:

            On or about September 25, 2018, in the District of Maryland, the defendant,

                                            COLLIN DAVIS,

    by force, violence, and intimidation, and with the intent to cause death, did take from the person

    and in the presence of another a motor vehicle that had been transported, shipped. and received in

    interstate and foreign commerce, to wit: a 2011 Chevrolet Cruze bearing Maryland tag number

    1BT6689. resulting in the death of Anthony Raynor.

    18 V.S.c.    S 2119(3)
    18 V.S.c.    S2
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                                               COUNT TWO
             (Conspiracy   to Possess with the Intention to Distribute Controlled    Substances)

             The Grand Jury for the District of Maryland further charges that:

             From a time unknown to the Grand Jury, but no later than in or about September 25, 2018,

    and continuing through on or about the filing of this indictment, in the District of Maryland and

    elsewhere, the defendant,

                                             COLLIN DAVIS,

    did knowingly combine, conspire, confederate, and agree with persons known and unknown to the

    Grand Jury to distribute and possess with the intent to distribute a mixture and substance containing

    a detectable amount of promethazine       hydrochloride   with codeine phosphate, a Schedule V

    controlled substance, and marijuana, a Schedule I controlled substance, in violation of 21 U.S.C.

    S 841.
    21 U.S.C.   S 846




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                                         COUNT THREE
                          (Using, Carrying, and Discharging a Firearm
           During and in Relation to a Crime of Violence and a Drug Trafficking      Crime)

           The Grand Jury for the District of Maryland further charges that:

           On or about September 25, 2018, in the District of Maryland, the defendant,

                                           COLLIN DAVIS,

did knowingly and intentionally use, carry, and discharge a firearm during and in relation to a

crime of violence and a drug trafficking crime for which he may be prosecuted in a court of the

United States, that is, carjacking, as set forth in Count One of this Indictment and conspiracy to

possess with the intent to distribute controlled dangerous substances, as charged in Count Two of

this Indictment, which arc incorporated by reference hcrein, and in the course of said violations

caused the death of a person, Anthony Raynor, through the usc of said firearm, which killing

constituted first degree murder, as defined in Title of the United States Code, Section 1111.

18 U.S.C.      S 924(c)(1)(A)(iii)
18 U.S.c.      S   924(j)(1)

18 U.S.c.      S2
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18 U.S.C.            1111
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                                                        UNITED STATES ATTORNEY


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